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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


    CHERYL SAGATAW, DEANTHONY
    BARNES, ROBERTA STRONG, TRAVIS
    NELOMS, ALVIN BUTCHER, ADRIAN
    TIGER, CHANCE ASKENETTE, DEVEN                            Civil Action
    CASTON, LOLA HEGSTROM, and
    RONDEL APPLEBEE, on behalf of                      0:24-cv-00001-ECT/TNL
    themselves and a class of similarly-situated
    individuals,

                             Plaintiffs,              PLAINTIFFS’ MOTION TO
            vs.                                          EXTEND FACTUAL
                                                       DISCOVERY DEADLINE
    MAYOR JACOB FREY, in his individual
    and official capacity,

                             Defendant.


         NOW COME Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, Travis

Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola

Hegstrom, and RonDel Applebee, Plaintiffs and putative class representatives, and

respectfully move this Court to amend the period of discovery set on March 7,

2024, in the Pretrial Scheduling Order (Doc. 62) as follows: to extend the deadline

for the close of factual discovery currently set for December 16,1 2024 until

January 2, 2024.


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  The Pretrial Scheduling Order lists this deadline as Sunday, December 15, 2024,
which thus becomes Monday, December 16, 2024 pursuant to Rule 6(a)(1)(C) of
the Federal Rules of Civil Procedure.

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      The accompanying Memorandum lays forth the good cause basis for

Plaintiffs’ request.

WHEREFORE, Plaintiffs’ respectfully request that this Honorable Court:

   1. Grant Plaintiffs’ Motion to Extend Factual Discovery Deadline; and

   2. Order any other relief as is deemed equitable and just.



      Respectfully submitted,



Dated: December 3, 2024               s/Kira Kelley
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